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                   17                              UNITED STATES DISTRICT COURT

                   18                           NORTHERN DISTRICT OF CALIFORNIA

                   19
                        RICHARD KADREY, an individual; SARAH           Case No. 3:23-cv-03417-VC
                   20   SILVERMAN, an individual; CHRISTOPHER
                        GOLDEN, an individual,                         DEFENDANT META PLATFORMS, INC.’S
                   21                                                  REPLY IN SUPPORT OF MOTION TO
                           Individual and Representative Plaintiffs,   DISMISS PLAINTIFFS’ COMPLAINT
                   22
                               v.                                      Date:      November 9, 2023
                   23                                                  Time:      10:00 a.m.
                        META PLATFORMS, INC., a Delaware               Dept:      Courtroom 4 – 17th Floor
                   24   corporation;                                   Judge:     Vince Chhabria
                   25                                   Defendant.
                                                                       Trial Date: None
                   26                                                  Date Action Filed: July 7, 2023
                   27

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                    1   I.      INTRODUCTION
                    2           Meta’s LLaMA, like other AI models, uses many billions of data points, including publicly

                    3   available books, to learn from and interpret human language. The core claim in this lawsuit pertains

                    4   to whether that process, called “training,” is copyright infringement. (¶¶ 39-40.) On a fuller record,

                    5   Meta will demonstrate that it is not. For now, Meta’s motion is directed at the remainder of the

                    6   Complaint—a hodge-podge of untenable theories lacking plausible factual support. In their

                    7   Opposition, Plaintiffs invent novel standards for proof of direct and vicarious copyright

                    8   infringement, advance new, unsupported theories of Section 1202 violations, and attempt to avoid

                    9   preemption of state law claims with wordplay. These very same arguments, made by the same law

                   10   firm representing Plaintiffs, were just rejected by Judge Orrick in Andersen et al. v. Stability AI,

                   11   Ltd. et al., Case No. 3:23-cv-00201-WHO (Dkt. 117 at 11-13) (N.D. Cal. Oct. 30, 2023). And as

                   12   Meta established in its opening brief, those arguments should be rejected here.

                   13           LLaMA as an “Infringing Derivative Work” (Claim 1) – Meta explained that the

                   14   allegation in Claim 1 that LLaMA is itself an “infringing derivative work” (¶ 41) is not plausible

                   15   (Mot. 6-9): Plaintiffs have not, and cannot, plead that LLaMA is “substantially similar” to their

                   16   works. Id. Although Plaintiffs argue in response that similarity is not required, their position

                   17   mischaracterizes Meta’s motion and is at odds with binding authority, including Litchfield, which

                   18   held that for one work to infringe another, it must be substantially similar in protected

                   19   expression. Mot. 8. Plaintiffs cannot sidestep this requirement.

                   20           Vicarious Infringement (Claim 2) – Plaintiffs’ vicarious liability claim relies on labels

                   21   and conclusions, rather than plausible facts supporting any of the three necessary elements. First,

                   22   they fail to identify any “output” of LLaMA generated by a third party (much less a plausibly

                   23   infringing one) that could create secondary liability for Meta. Without an alleged act of direct

                   24   infringement by another, there is nothing to be vicariously liable for. Second, they plead no plausible

                   25   allegations that Meta has the “right and ability to supervise” and control outputs generated by LLaMA

                   26   users. Mot. 11. Third, Plaintiffs’ theory that Meta has a “direct financial interest” in infringement

                   27   by LLaMA users is not supported, as it must be, by plausible facts supporting an inference that the

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                    1   (hypothetical) ability to generate outputs that infringe Plaintiffs’ works is a “draw” for LLaMA
                    2   users.
                    3            DMCA (Claim 3) – As to Section 1202(1)(a), Plaintiffs do not even bother to defend their
                    4   defective claim that Meta knowingly provides false copyright management information (CMI) in
                    5   connection with LLaMA. Their Opposition also confirms that their Section 1202(b)(1) is not viable.
                    6   Section 1202(b)(1) prohibits the removal of CMI from copies of Plaintiffs’ works. For example, this
                    7   might occur if one took a book, erased the author’s name, and released copies of that book online. But
                    8   there is no allegation LLaMA does that. Plaintiffs allege something entirely different than what is
                    9   barred by Section 1202(b)(1): that LLaMA omits CMI from supposed derivatives that are not even
                   10   alleged to be substantially similar to their works. As to Section 1202(b)(3), Plaintiffs bizarrely and
                   11   insufficiently allege that Meta “unlawfully removed” CMI from LLaMA, a work owned by Meta, to
                   12   which Plaintiffs have no claim.
                   13            UCL; Unjust Enrichment; Negligence (Claims 4-6) – Plaintiffs’ Opposition confirms that
                   14   their throw-in state law claims are preempted and otherwise inadequately pled.
                   15            For all of these reasons, Meta respectfully requests that the Court dismiss with prejudice the
                   16   portion of Claim 1 alleging that LLaMA is an “infringing derivative work,” and all of Claims 2-6,
                   17   thereby narrowing this case to what Plaintiffs concede is the “core” issue. Opp. 3.
                   18   II.      ARGUMENT
                   19            A.     The Claim That LLaMA Is an “Infringing Derivative Work” Fails (Claim 1)
                   20            Plaintiffs’ Claim 1—direct copyright infringement—is based on two independent theories:
                   21   (1) that Meta created unauthorized copies of Plaintiffs’ books to train LLaMA (¶ 40); and
                   22   (2) that because LLaMA “cannot function without the expressive information extracted from
                   23   Plaintiffs’ Infringed Works and retained inside [LLaMA],” the models “are themselves infringing
                   24   derivative works.” (¶ 41.) As Meta explained (Mot. 2, 6), Plaintiffs’ first theory (copying as part
                   25   of training) is not at issue here, as Meta’s motion explicitly “addresses only the latter theory, which
                   26   rests on a fundamental misunderstanding of copyright law.” Mot. 6. Although purporting to
                   27   recognize this distinction (Opp. 3–4), Plaintiffs’ Opposition conflates these theories, arguing,
                   28   among other things, that because Meta allegedly “copied Plaintiffs’ books and fed them to its
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                    1   language models as training data … no showing of substantial similarity is necessary.” Opp. 5.
                    2   These allegations are not relevant to the subject of Meta’s motion.
                    3          To maintain a claim that LLaMA is an infringing derivative work, Plaintiffs must allege
                    4   that the LLaMA model is substantially similar in protected expression to Plaintiffs’ works. See
                    5   Mot. 8; Litchfield v. Spielberg, 736 F.2d 1352, 1357 (9th Cir. 1984) (holding that “[t]o prove” that
                    6   an alleged derivative work is infringing, “one must show substantial similarity”); 4 PATRY ON
                    7   COPYRIGHT § 12:13 (“[i]n order to infringe the derivative right, there must be substantial
                    8   similarity”); 2 NIMMER ON COPYRIGHT § 8.09 (without substantial similarity, an alleged infringing
                    9   derivative is “nonactionable”). Plaintiffs’ Opposition points to no factual allegations that LLaMA
                   10   shares protected expression with Plaintiffs’ books and essays, and neither does the Complaint.
                   11          In response, Plaintiffs intermingle two concepts, and insist that, notwithstanding the
                   12   overwhelming weight of authority (Mot. 8), substantial similarity “is not the law.” Opp. 4. Their
                   13   argument relies on the inapt case of Range Rd. Music, Inc. v. E. Coast Foods, Inc., 668 F.3d 1148
                   14   (9th Cir. 2012) and its progeny. But Range Road was not about derivative works. It addressed a
                   15   different issue: whether an evaluation of the similarity between two works is always required to prove
                   16   that an act of copying occurred. Id. at 1154. The court explained that such evaluation is not necessary
                   17   in situations where copying is directly observed, or when a work is “reproduce[ed] … in toto.” Id.
                   18   For example, in Range Road, the defendant had publicly performed the plaintiff’s exact song.
                   19          But to show that a work is a derivative work, plaintiffs must show not just that it owed its
                   20   origin to plaintiffs’ work in some sense. They must also show that the alleged derivative included
                   21   a substantial amount of protectable expression from the original. As the Ninth Circuit lamented in
                   22   a later case, the court “[u]nfortunately” has “used the same term—‘substantial similarity’—to
                   23   describe both the degree of similarity relevant to proof of copying [i.e., what was at issue in Range
                   24   Road] and the degree of similarity necessary to establish unlawful appropriation [i.e., the question
                   25   presented here].” Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th Cir. 2018).1 The Ninth
                   26   Circuit has thus clarified that “[t]o prove unlawful appropriation”—the relevant inquiry here— “the
                   27
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                          Because “[t]he term means different things in those two contexts,” some courts now use
                   28   “probative similarity” to describe the copying-related concept to which Plaintiffs refer in their
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                        Opposition. Rentmeester, 883 F.3d at 1117 n.1.
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                    1   similarities between the two works must be ‘substantial’ and they must involve protected elements
                    2   of the plaintiff’s work.” Id. at 1117. Applying this principle, Judge Orrick rejected an identical
                    3   argument to that made by Plaintiffs here (i.e., that an AI model is itself infringing of training data)
                    4   because the plaintiffs did not plausibly plead substantial similarity. See Andersen, Dkt. 117 at 13.
                    5          Plaintiffs try to rescue their untenable derivative works theory by speculating that because
                    6   Meta allegedly “copied Plaintiffs’ entire copyrighted works” in the process of training LLaMA, “it
                    7   is certain that Meta has harvested protected expression.” Opp. 7. To the extent Plaintiffs mean to
                    8   claim that the LLaMA model retains Plaintiffs’ protected expression, that is not what the Complaint
                    9   alleges.   Rather, Plaintiffs allege that LLaMA cannot “function” without the “expressive
                   10   information” extracted from copies of their works.2 Opp. 5; ¶ 18; ¶ 41. Due to the vagueness of
                   11   this assertion, Meta and the Court are left to guess what this “expressive information” consists of,
                   12   let alone whether it plausibly constitutes protected expression. Copyright law protects original
                   13   creative expression, not just any expressive information about the works. Mot. 8-9 (citing cases).3
                   14   As Meta explained, “information” such as facts or the syntactical, structural, and linguistic
                   15   relationship between words is not protectable. Mot. 9. And whether one work can “function”
                   16   without the other is irrelevant to a claim of infringement.
                   17          Finally, Plaintiffs’ novel, sweeping conception of the derivative works right mirrors the one
                   18   correctly rejected by the Second Circuit in Authors Guild v. Google, Inc., 804 F.3d 202 (2d Cir.
                   19   2015), to which the Opposition does not meaningfully respond. Mot. 9. Authors Guild held that
                   20   book authors’ derivative work right does not reach a software program that relies upon, but does
                   21   not permit access to, copies of their books to generate information and snippets from the same. Id.
                   22   at 226–27. Likewise here, Plaintiffs allege that LLaMA is an infringing derivative work because it
                   23
                        2
                   24     Plaintiffs argue in the Opposition (but not the Complaint) that “the entire purpose of LLaMA is
                        to imitate copyrighted expression” (Opp. 5), but this is untrue and unsupported by the pleadings.
                   25   Plaintiffs also accuse Meta of arguing that its “[direct] infringements are so vast” that it “cannot be
                        held accountable” (Opp. 8), but Meta made no such argument. See Mot. 12.
                        3
                   26     Even if Plaintiffs could specify the “expressive information” allegedly at issue, which they have
                        not, the notion that LLaMA itself is substantially similar to Plaintiffs’ works is facially implausible.
                   27   LLaMA is a state-of-the-art neural network which, by having been trained on trillions of “tokens”
                        (i.e., snippets of text, see Lauter Ex. A at 1), possesses a statistical model of human language that
                   28   enables it to generate new and “convincingly naturalistic text outputs in response to user prompts.”
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                        (¶ 1.) In stark contrast, Plaintiffs’ works are individual books and essays.
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                    1   purportedly relies on expressive information extracted from copies of their works to “emit
                    2   convincingly naturalistic text outputs in response to user prompts.” (¶¶ 17-18.) And, as in Authors
                    3   Guild, Plaintiffs do not allege that (1) those “copies” are viewable or otherwise accessible to users
                    4   of LLaMA, or (2) any of the outputs of LLaMA contain their works or substantially borrow from
                    5   their protected expression. Mot. 9. As in Authors Guild, the derivative works theory fails here.
                    6          B.    Plaintiffs Fail to Adequately Plead Vicarious Infringement (Claim 2)
                    7          Meta explained (Mot. 10) that Plaintiffs failed to adequately allege any of the three elements
                    8   of a vicarious infringement claim. Plaintiffs barely engage with Meta’s arguments or cited cases,
                    9   relying instead on theories that conflict with settled law and their own allegations. Each defect is
                   10   an independent reason to reject the vicarious infringement claim.
                   11          No direct infringement: Plaintiffs have not pleaded a single act of direct infringement by
                   12   a LLaMA user (Opp. 9)—an essential element of a vicarious infringement claim. Perfect 10, Inc.
                   13   v. Amazon.com, Inc., 508 F.3d 1146, 1173 (9th Cir. 2007). A copyright plaintiff must plead at least
                   14   representative examples of such infringement so that defendants and the court may evaluate the
                   15   sufficiency of the pleadings, including whether a plaintiff has plausibly alleged substantial
                   16   similarity. Mot. 10 (citing various cases). This requirement applies to claims of direct and vicarious
                   17   infringement alike. Andersen, Dkt. 117 at 15; YellowCake, Inc. v. DashGo, Inc., 2022 WL 172934,
                   18   *7-8 (E.D. Cal. Jan. 19, 2022) (dismissing vicarious infringement claim for failure to plead example
                   19   of direct infringement). Nowhere do Plaintiffs allege that anyone, anywhere used LLaMA to
                   20   recreate or reproduce even a portion of Plaintiffs’ works. (Mot. 10).
                   21          Plaintiffs try to sidestep this pleading defect by asserting that they may rely on the
                   22   conclusory allegation that all LLaMA outputs are necessarily “infringing derivative works.” Opp.
                   23   9. This conclusory allegation is insufficient, including because “substantial similarity” is a legal
                   24   requirement to show an infringing derivative work (Mot. 8), not a “red herring.” Opp. 9. See supra
                   25   Section II.1. This fails to put Meta on notice of what Plaintiffs consider to be an infringing
                   26   derivative of their works. Indeed, Plaintiffs’ theory leads to the absurd result that every output of
                   27   a generative AI model infringes every one of the billions of works used to train it, despite that a
                   28   given output (say, a story about penguins having a cocktail party at the beach) bears no similarity
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                    1   at all to any of Plaintiffs’ works. That is not what copyright is about. See Andersen, Dkt. 177 at
                    2   12 (deeming implausible that every Training Image … was copyrighted (as opposed to
                    3   copyrightable), or that all [] users’ Output Images rely upon (theoretically) copyrighted Training
                    4   Images and therefore all Output images are derivative images”)
                    5           No requisite control: The “control” element of vicarious liability is “based on the
                    6   defendant’s failure to cause a third party to stop its directly infringing activities.” Perfect 10, 508
                    7   F.3d at 1175. Plaintiffs’ argument that Meta has the “right to stop” allegedly infringing outputs
                    8   generated by LLaMA users because “Meta could have ensured its [LLMs] were only trained on
                    9   licensed training data, or simply turned the models off” (Opp. 9-10) is not the law. “A failure to
                   10   change operations to avoid distribution of infringing content is not the same as declining to exercise
                   11   a right and ability to stop direct infringement by others,” and the former—all that is alleged here—
                   12   does not support a vicarious infringement claim. Schneider v. YouTube, LLC, 2023 WL 114226,
                   13   at *2 (N.D. Cal. Jan. 5, 2023) (citing VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 746 (9th Cir.
                   14   2019)). If it did, this element would be satisfied in every case, rendering it superfluous.
                   15           No requisite financial interest: Plaintiffs have failed to allege, as they must, that LLaMA
                   16   users are drawn to LLaMA by outputs that infringe Plaintiffs’ works, as opposed to hypothetically
                   17   infringing outputs generally. Perfect 10 v. Giganews, Inc., 847 F.3d 657, 673 (9th Cir. 2017)
                   18   (requiring evidence that customers were drawn to defendant’s services specifically “because of the
                   19   infringing [] material at issue”); A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1023 (9th Cir.
                   20   2001). Plaintiffs have no response to this point, thus effectively conceding it.4 Plaintiffs also do
                   21   not address Meta’s arguments (Mot. 12) that any alleged infringement of Plaintiffs’ works could
                   22   not plausibly serve as a draw for LLaMA users when (1) any “information” conceivably extracted
                   23   from Plaintiffs’ works is a microscopic fragment of the datasets that might influence potential
                   24   LLaMA outputs (e.g. Lauter ¶ 3 & Ex. 2; ¶ 23); and (2) Plaintiffs do not allege that Meta has
                   25   identified Plaintiffs’ works as among LLaMA’s training data. (¶ 21-30.) Plaintiffs argue they
                   26   satisfy this element because the Complaint alleges that Meta used Plaintiffs’ books to train LLaMA,
                   27
                        4
                         Plaintiffs’ reliance (Opp. 10) on Thomson Reuters Enter. Ctr. GMBH v. Ross Intel. Inc., 2023 WL
                   28   6210901, at *6 (D. Del. Sep. 25, 2023) is misplaced in view of Ninth Circuit authority and because
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                        defendant there “[did] not contest that it had a financial interest in the alleged copies.” Id.
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                    1   that LLaMA has been commercialized, and that Meta has distributed LLaMA, Opp. 10, but these
                    2   allegations fail to plausibly support the notion that users are drawn to LLaMA “because of the
                    3   infringing [] material at issue.” Perfect 10, 847 F.3d at 673.
                    4           C.     Plaintiffs Fail to Adequately Plead a Violation of the DMCA (Claim 3)
                    5           Plaintiffs allege that Meta violated Sections 1202(b)(1) and (b)(3) by “intentionally
                    6   remov[ing] CMI” from Plaintiffs’ works” (¶ 49), “distributing” infringing works, namely, LLaMA
                    7   without Plaintiffs’ CMI copies of the works” (¶ 50), and thereby knowingly “conceal[ing]… ‘the
                    8   fact that every output from [LLaMA] is an infringing derivative work….’” (¶ 52). Opp. 12-13.
                    9   These non-cognizable theories fail to state a plausible claim under either DMCA provision.
                   10                  1.      Plaintiffs’ Section 1202(a)(1) claim must be dismissed as conceded
                   11           Meta’s motion explained why Plaintiffs’ Section 1202(a)(1) claim should be dismissed.
                   12   Mot. 12-14 (§IV.C.1). In Opposition, Plaintiffs failed to address these deficiencies (neglecting any
                   13   mention of § 1202(a)(1) altogether), conceding this claim. See Tyler v. Travelers Com. Ins. Co.,
                   14   499 F. Supp. 3d 693, 701 (N.D. Cal. 2020) (construing silence as a concession).
                   15                  2.      Plaintiffs fail to adequately plead a violation of Section 1202(b)(1)
                   16           Failure to plead removal of CMI: Plaintiffs allege that Meta failed to “preserve” CMI in
                   17   the “expressive information” that was extracted from copies of their books (¶ 49).5 As explained in
                   18   Meta’s motion, this is not an alleged “removal” of CMI, but instead an alleged “omission,” which
                   19   cannot give rise to a claim under Section 1202. Mot. 14-15. Plaintiffs respond that they pleaded
                   20   that “CMI was copied as part of the training process and then removed when LLaMA outputs.” Opp.
                   21   14. However, this characterization of the Complaint cannot be reconciled with Plaintiffs’ actual
                   22   allegations, which make no mention of “outputs” and are focused exclusively on what occurs during
                   23   the “process” of “training” LLaMA.6 (¶ 49.) See Schneider v. Cal. Dep’t. of Corr., 151 F.3d 1194,
                   24   1197 n.1 (9th Cir. 1998) (on 12(b)(6) motion, courts “may not look beyond the complaint to … a
                   25   memorandum in opposition”).
                   26   5
                          Plaintiffs’ Opposition makes references to having alleged that Meta “altered” Plaintiffs’ CMI,
                   27   Opp. 1-2,12, 13, but the Complaint does not so allege. E.g., ¶¶ 50, 52-53 (claiming “removal”).
                        6
                          It is also a concession that there is no DMCA violation in the training process. To the contrary,
                   28   Plaintiffs take the position that the training process copied the entirety of the work, including the
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                        CMI. Opp. 14 (“CMI was copied as part of the training process”).
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                    1           But even if Plaintiffs had alleged that LLaMA somehow removes CMI when users generate
                    2   outputs, their pleading would still fail for reasons explained above: nowhere do Plaintiff plead any
                    3   examples of infringing outputs, much less ones that purportedly lack corresponding CMI. See
                    4   Andersen, Dkt. 117 at 18 (deeming similar arguments “wholly conclusory”); Free Speech Sys., LLC
                    5   v. Menzel, 390 F. Supp. 3d 1162, 1175 (N.D. Cal. 2019) (dismissing for failure to “identify which
                    6   photographs had CMI removed”). It would make no sense for the law to require Meta to attach
                    7   Plaintiffs’ CMI to works that are not theirs and are not even alleged to be similar to theirs.
                    8           Plaintiffs next argue that a Section 1202(b) violation does not require removal or alteration
                    9   of CMI from copies of their works, but that it is enough if their CMI is not included on infringing
                   10   derivative works. Opp. 12-13. Here, too, Plaintiffs are wrong: courts consistently hold that removal
                   11   of CMI must occur on an original or near-identical copy of a work. Mot. 15 (citing cases); see also
                   12   Crowley v. Jones, 608 F. Supp. 3d 78, 90 (S.D.N.Y. 2022) (explaining that “a defendant cannot
                   13   violate the DMCA by associating its name with a derivative work”). This makes sense, too:
                   14   “removal” connotes the action of taking away or displacing something from a specific place. Citing
                   15   three cases in a footnote, Plaintiffs argue that there is no requirement that a copy from which CMI
                   16   is removed is identical to the original. Opp. 13, n.3. However, those cases state the opposite and
                   17   fail to support Plaintiffs’ argument.7
                   18           Failure to plead scienter: Plaintiffs plead no facts showing that Meta “removed” CMI from
                   19   Plaintiffs’ works, and thus fail to allege culpable intent. Mot. 14. Instead, the Complaint relies on
                   20   mere conclusory allegations that “Meta knew or had reasonable grounds to know” that removing CMI
                   21   “would facilitate copyright infringement ….” (¶¶ 49, 52.) Plaintiffs were required to plead plausible,
                   22
                        7
                          The court in Frost-Tsuji Architects v. Highway Inn, Inc. held that making a “virtually identical”
                   23   copy of the plaintiff’s work by redrawing it without CMI “would not” qualify as a removal of CMI.
                        2014 WL 5798282, at *5-6 (D. Haw. Nov. 7, 2014) (“[T]he physical act of removal is not the same
                   24   as basing a drawing on someone else's work. Reliance on another’s work is insufficient to support a
                        claim of removal of copyright management information.”) Similarly, in Dolls Kill, failure to include
                   25   plaintiff’s CMI on imperfect “knock-offs” of the plaintiff’s clothing designs was not a removal of
                        CMI because “no DMCA violation exists where the works are not identical.” Dolls Kill, Inc. Zoetop
                   26   Bus. Co., 2022 WL 16961477 at *4 (C.D. Cal. 2022). Finally, ICONICS, Inc. v. Massaro, 192 F.
                        Supp. 3d 254, 272 (D. Mass. 2016) did not concern whether Section 1202 requires removal of CMI
                   27   from a copy of the plaintiff’s work; the defendant there “admit[ted]” to making copies of the
                        plaintiff’s computer code, and the issue presented was whether computer file headers within the
                   28   plaintiff’s software were properly regarded as CMI at all because they corresponded to segments of
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                        the work rather than the “full version.” Id.
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                    1   non-conclusory allegations “as to how identifiable infringements will be affected by” removal of
                    2   CMI, or a “pattern of conduct” demonstrating” that Meta knew or had reason to know that such
                    3   removal “would cause future infringement.” Mills v. Netflix, Inc., 2020 WL 548558, at *3 (C.D. Cal.
                    4   Feb. 3, 2020)). Because Plaintiffs have not identified any examples of allegedly infringing LLaMA
                    5   output, let alone output allowing an inference that Meta knew or should have known that removal of
                    6   CMI would cause infringement (Mot. 16), Plaintiffs have not plausibly alleged scienter.
                    7                  3.      Plaintiffs fail to adequately plead a violation of Section 1202(b)(3)
                    8          Plaintiffs’ theory that Meta violates Section 1202(b)(3) by distributing LLaMA itself
                    9   without Plaintiffs’ CMI is incompatible with the statutory language, which prohibits distribution of
                   10   copies of works with CMI removed “without the authority of the copyright owner” of those works.
                   11   17 U.S.C. § 1202(b)(3). Pursuant to 17 U.S.C. § 201(a), ownership of LLaMA vests in its author,
                   12   Meta. Thus, Meta possesses authority over LLaMA CMI under 1202(b)(3) and conversely,
                   13   Plaintiffs have no claim to CMI in LLaMA. See 2 PATRY ON COPYRIGHT § 3:59.50 (explaining that
                   14   plaintiffs do not own rights in the [allegedly] infring[ing] work).
                   15          Plaintiffs also fail to allege how Meta supposedly removed their CMI from LLaMA, or how
                   16   such removal conceals that (according to Plaintiffs) “every output from the LLaMA language models
                   17   is an infringing derivative work.” (¶ 52.) Plaintiffs largely ignore Meta’s arguments, choosing instead
                   18   to restate their unsupported theory of a Section 1202(b)(1) violation. See Opp. 13 n.4 (stating that the
                   19   “DMCA prohibits Meta from removing the CMI when copied by Meta,” and that “none of LLaMA’s
                   20   output includes or contains removed CMI”). This is a non sequitur. If Plaintiffs seek to assert a claim
                   21   that Meta removes CMI from infringing derivatives generated by LLaMA users, that is not what they
                   22   allege as a violation of Section 1202(b)(3). (¶ 50, describing “derivative works” created by Meta, not
                   23   Meta users). Regardless, any such claim would be subject to dismissal because Plaintiffs have not
                   24   alleged a removal of CMI from copies of their works. To the contrary, they allege that training does
                   25   not “preserve” CMI and that LLaMA outputs are “infringing derivative works.” ¶ 49.
                   26          D.      Plaintiffs Fail to Adequately Plead Violations of State Law (Claims 4-6)
                   27          Plaintiffs have failed to rebut Meta’s arguments for dismissal of their three state law claims
                   28   as preempted by the Copyright Act and as otherwise inadequately pleaded.
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                    1                  1.      Plaintiffs’ state law claims are preempted by the Copyright Act
                    2          Meta’s motion explained that Plaintiffs’ state law claims are based entirely on alleged

                    3   copying of their works and thus are preempted. Mot. 18 (citing cases); see Andersen, Dkt. 117 at

                    4   23 (“[P]laintiffs cannot tie their unlawful prong UCL claim to purported copyright violations.

                    5   Those claims are preempted by the Copyright Act.”). Plaintiffs respond that their state claims are

                    6   “based on [Meta’s] use” of their works to train LLaMA, Opp. 15-16, but the Complaint reveals that

                    7   the same operative facts underlie both the copyright infringement and state law claims. (See ¶ 55;

                    8   ¶ 3 at 9; ¶ 11 at 10.) The only alleged “use” of Plaintiffs’ works is Meta’s purported infringement

                    9   of Plaintiffs’ rights under the Copyright Act. Plaintiffs cannot avoid preemption by simply

                   10   relabeling their allegations of “copying” as allegations of “use” under state law. Mot. 18-19 (citing

                   11   cases); see also Cromwell v. Certified Forensic Loan Auditors, 2019 WL 1095837, at *11 (N.D.

                   12   Cal. Jan. 10, 2019) (negligence and unjust enrichment preempted for failure to plead facts “separate

                   13   from their copyright infringement claim”); Dielsi v. Falk, 916 F. Supp. 985, 992 (C.D. Cal. 1996)

                   14   (claim of “wrongful[] use[]” of work was “clearly preempted”).

                   15          None of the cases cited by Plaintiffs save their state claims from preemption. Opp. 15. Altera

                   16   Corp. v. Clear Logic, Inc., 424 F.3d 1079 (9th Cir. 2005), involved whether the plaintiff’s contractual

                   17   right to control the use of end-product information generated by users of the plaintiff’s software was

                   18   preempted. Id. at 1090-91. There are no such contractual rights alleged here. G.S. Rasmussen &

                   19   Assocs., Inc. v. Kalitta Flying Service, Inc., 958 F.2d 896 (9th Cir. 1992), is similarly inapplicable.

                   20   That case concerned a state law conversion claim regarding unauthorized use of an FAA-issued

                   21   certificate (itself not subject to copyright protection), which enabled the defendant to obtain

                   22   airworthiness approval for an aircraft. Id. at 904. The claims here bear no resemblance to Rasmussen.

                   23          The other cases cited by Plaintiffs support a finding of preemption here. In J. Doe 1 v. GitHub,

                   24   2023 WL 3449131 (N.D. Cal. May 11, 2023), Judge Tigar, citing Altera, stated in passing that state

                   25   law claims based on unauthorized use of a copyrighted work may not be preempted. But he

                   26   concluded that the plaintiff’s unjust enrichment claim was preempted because it was “based on profit

                   27   derived from both reproduction and preparation of derivative works.” Id. at *11. This is what

                   28   Plaintiffs alleged here. (¶ 5 at 9). And in Thomson Reuters, the Delaware district court held preempted
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                    1   an interference claim based on violation of terms relating to copying copyrighted Westlaw content.
                    2   In contrast, the non-preempted claims concerned provisions governing how users access Westlaw
                    3   and sharing of passwords—a far cry from Plaintiffs’ allegations here. Id. at *12.
                    4                  2.      Plaintiffs fail to state a claim under the UCL (Claim 4)
                    5          In addition to being preempted, Plaintiffs’ UCL claims are not adequately pled.
                    6          Unlawful Prong: Plaintiffs’ “unlawful” prong UCL claim (¶ 55) is predicated on acts that
                    7   are coextensive with either (1) Plaintiffs’ allegations of copyright infringement (which are
                    8   preempted), or (2) “violat[ion] of Plaintiffs’ rights under the DMCA” (id.) (but Plaintiffs fail to
                    9   state any DMCA claim). See Andersen, Dkt. 117 at 23 (dismissing near-identical claims).
                   10          Unfair Prong: Plaintiffs claim that Meta engaged in unfair conduct under the UCL by
                   11   “intentionally remov[ing] CMI from copies of Plaintiffs’ works for LLaMA.” (¶ 57; Opp. 18.) As
                   12   explained above, Meta did no such thing. Moreover, Plaintiffs cite no authority supporting such a
                   13   claim under the unfair prong. An “unfair” act under the UCL must be one that either (1) “threatens
                   14   an incipient violation of an antitrust law, or violates the policy … of one of those laws” or (2)
                   15   “otherwise significantly threatens … competition.” Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel.
                   16   Co., 20 Cal. 4th 163, 186-87 (1999). Also, such “harm” to competition must be to the competitive
                   17   market generally, not to Plaintiffs specifically. Id. Plaintiffs alleged nothing of the sort.
                   18          Fraud Prong: Plaintiffs assert that Meta deceives LLaMA users by failing to attribute
                   19   LLaMA outputs to Plaintiffs, and that this is a violation of the fraud prong. (¶ 58; Opp. 18.) Judge
                   20   Orrick dismissed a similar claim in Andersen. Dkt. 117 at 23. Where a UCL claim sounds in fraud,
                   21   a plaintiff is “required to prove actual reliance on the allegedly deceptive or misleading statements.”
                   22   Sateriale v. R.J. Reynolds Tobacco Co., 697 F.3d 777, 793 (9th Cir. 2012). Furthermore, plaintiffs
                   23   “must allege their own reliance… rather than the reliance of third parties.” L.A. Taxi Coop., Inc. v.
                   24   Uber Techs., Inc., 114 F. Supp. 3d 852, 866 (N.D. Cal. 2015); Mot. 17, n.3. Plaintiffs do not plead
                   25   their own reliance, nor could they. Plaintiffs also do not plead a single example of any output for
                   26   which Meta failed to identify “Plaintiffs as owners of copyrighted works.” Opp. 18. This falls short
                   27   of both Rule 8’s notice pleading standard and the heightened standard under Rule 9. See Vess v.
                   28   Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003).
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                    1                  3.      Plaintiffs fail to state a claim for unjust enrichment (Claim 5)
                    2           The law in this Circuit is clear: “[a]lthough there exists no standalone claim for ‘unjust

                    3   enrichment’ in California, courts may ‘construe the cause of action as a quasi-contract claim seeking

                    4   restitution.’” Locklin v. StriVectin Operating Co., 2022 WL 867248, at *3 (N.D. Cal. Mar. 23, 2022)

                    5   (Chhabria, J.) (citation omitted). Such claims generally require “that a defendant has been unjustly

                    6   conferred a benefit ‘through mistake, fraud, coercion, or request.’” Astiana v. Hain Celestial Grp.,

                    7   Inc., 783 F.3d 753, 762 (9th Cir. 2015) (quoting 55 Cal. Jur. 3d Restitution § 2 (2015)). It is not

                    8   enough that a plaintiff allege that the defendant received some benefit at the plaintiff’s expense; the

                    9   plaintiff must also allege that the benefit was obtained through qualifying conduct. Russell v.

                   10   Walmart, Inc., 2023 WL 4341460, at *2 (N.D. Cal. July 5, 2023).

                   11           Plaintiffs argue that unjust enrichment was sufficiently pled by their allegation that

                   12   “Plaintiffs’ copyrighted works are used by Meta in LLaMA without attribution or compensation.”

                   13   Opp. 19. Not only is this an effective concession of preemption, but Meta’s purported failure to

                   14   attribute does not qualify as conduct that would warrant treatment as a quasi-contract, such as fraud,

                   15   duress, or coercion.8 This claim should be dismissed.

                   16                  4.      Plaintiffs fail to state a claim for negligence (Claim 6)
                   17           Meta’s motion explained how Plaintiffs failed to allege plausible facts that Meta (1) owed

                   18   Plaintiffs a duty, (2) breached that duty, and (3) such breach proximately caused injury to Plaintiffs.

                   19   Mot. 19-20 (citing cases). Plaintiffs’ Complaint merely recited these elements and pleaded no facts

                   20   to support them, warranting dismissal. Id. In response, Plaintiffs attempt to cure these deficiencies

                   21   by asserting new facts. Opp. 20. For example, they now argue that Meta’s purported removal of

                   22   CMI “will enable subscribers, inter alia, to take or adopt Plaintiffs’ voices, foreseeably causing

                   23   them harm and taking away careers and reputations developed over their lives.” Opp. 20. The cited

                   24   paragraphs of the Complaint (id., citing ¶¶ 48-53) provide no support for these unpleaded

                   25   allegations, and they should be ignored. Schneider, 151 F.3d at 1197 n.1.

                   26           As to the economic loss doctrine, which separately bars Plaintiffs’ claim (Mot. 20),

                   27
                        8
                         ESG Capital Partners, LP v. Stratos, 828 F.3d 1023 (9th Cir. 2016) (Opp. 18-19), has no
                   28   bearing here. There, plaintiff alleged dealings with defendant, including a promise and transfer of
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                        money, which was sufficient to plead a claim under quasi-contract. Id. at 1038-1039.
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                    1   Plaintiffs argue it does not apply because Plaintiffs are seeking redress for injuries that “cannot
                    2   fully be compensated or measured in money” Opp. 20. That misses the point: the irreparable harm
                    3   they assert is economic in nature, and they have not alleged any injury to person or property. See
                    4   Quelimane Co. v. Stewart Title Guar. Co., 19 Cal. 4th 26, 57 (1998) (explaining that “[r]ecognition
                    5   of a duty to ... prevent purely economic loss ... is the exception, not the rule, in negligence law”).
                    6   Nor have they plausibly alleged that a “special relationship”—an exception to the economic loss
                    7   doctrine—exists between them and Meta. Opp. 20. A special relationship entails that “the plaintiff
                    8   was an intended beneficiary of a particular transaction but was harmed by the defendant's
                    9   negligence in carrying it out.” See Andrews v. Plains All Am. Pipeline, L.P., 2019 WL 6647930, at
                   10   *4 (C.D. Cal. Nov. 20, 2019). No such facts are pled here. The negligence claim fails.
                   11   III.   CONCLUSION
                   12          For all of the foregoing reasons, Claim 1, as to Plaintiffs’ claim that LLaMA is an infringing
                   13   derivative work, and Claims 2-6 should be dismissed with prejudice, without leave to amend.
                   14
                        Dated: November 1, 2023                                   COOLEY LLP
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